Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 1 of 18




              EXHIBIT 2
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 2 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 3 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 4 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 5 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 6 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 7 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 8 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 9 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 10 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 11 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 12 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 13 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 14 of 18
Case 2:25-cv-00367-RSL   Document 1-3   Filed 02/27/25   Page 15 of 18
          Case 2:25-cv-00367-RSL           Document 1-3        Filed 02/27/25       Page 16 of 18




 1
                                       CERTIFICATE OF SERVICE
 2
            I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
 3
     Court using the CM/ECF system which will send notification of such filing to the following:
 4

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         Case 2:25-cv-00367-RSL        Document 1-3     Filed 02/27/25     Page 17 of 18




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         Case 2:25-cv-00367-RSL        Document 1-3     Filed 02/27/25       Page 18 of 18




 1         Attorney(s) Name & Address            Party(ies) Represented        Method of Service
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 5                                                #27;
                                                 Chief Jeff Clark and East
 6                                                 Side Fire Dist. #14
                                                 King County Fire
 7                                                 Protection District # 2
                                                   and Chief Michael
 8
                                                   Marrs
 9
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14        DATED this 3rd day of January, 2022.
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